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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 22-60409--CIV-SMITH

 ATLANTIC WINDOW
 CLEANING, INC.

        Plaintiff,
 v.

 RACHEL EULER, et al.,

       Defendants.
 _____________________________________________/

       ORDER REQUIRING JOINT SCHEDULING REPORT, CERTIFICATES OF
       INTERESTED PARTIES AND CORPORATE DISCLOSURE STATEMENTS

        IT IS ORDERED:

        1. Plaintiff(s) shall provide copies of this Order to all counsel and any unrepresented

 parties. Plaintiff(s) shall ensure compliance with this Order.

        2. By March 31, 2022, the parties shall:

                a. Prepare and file a Joint Scheduling Report, as required by Local Rule 16.1, that

        sets out a proposed case management and discovery plan. The parties shall also file a

        Proposed Scheduling Order, adhering to the format and guidance of the attached form.

        In addition to filing the Proposed Scheduling Order, the parties shall email a Word version

        of the Proposed Scheduling Order to smith@flsd.uscourts.gov.

                b. File Certificates of Interested Parties and Corporate Disclosure Statements.

                c. File the Election to Jurisdiction by a United States Magistrate Judge

        for Final Disposition of Motions form attached hereto and, if applicable, the Election to

        Jurisdiction by a United States Magistrate Judge for Trial form.
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        3. Initial disclosures required under Federal Rule of Civil Procedure 26(a)(1) must be made

 at or before the time the parties confer to develop their case management and discovery plan.

        4. If after receipt of the parties’ Joint Scheduling Report the Court determines that a

 Federal Rule of Civil Procedure 16(b) scheduling and planning conference is necessary, it shall set

 a hearing. The parties should be prepared to argue all motions pending at the time of such hearing.

        5. Notice of Joint Motions: The parties are hereby notified that multiple Plaintiffs or

 Defendants shall file joint dispositive motions, including motions to dismiss and motions for

 summary judgment, with co-parties unless there are clear conflicts of positions or grounds for

 relief. Multiple Plaintiffs or multiple Defendants shall also file joint motions in limine and joint

 Daubert motions.

        DONE AND ORDERED in Fort Lauderdale, Florida this 3rd day of March 2022.




 cc: Counsel of record
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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                    CASE No. XX-XXXXX-CIV-SMITH

 PARTY NAME(S),

                            Plaintiff(s),

                   v.

 PARTY NAME(S),

 Defendant(s)
 _______________________________/

                           PROPOSED SCHEDULING ORDER SETTING
                         CIVIL TRIAL DATE AND PRETRIAL SCHEDULE

          THIS CAUSE is set for trial during the Court’s two-week trial calendar beginning on

 [mm/dd/yyyy].1 If the case cannot be tried during the two-week period, it will be re-set for each

 successive trial calendar until it is tried or resolved. The Calendar Call will be held at 9:00 a.m. on

 Tuesday, [mm/dd/yyyy].2 The parties shall adhere to the following schedule: 3

       1. Joinder of any additional parties and filing of motion to amend the
          pleadings by                                                                                [mm/dd/yyyy]

       2. Parties shall select a mediator pursuant to Local Rule 16.2 and shall
          schedule a time, date, and place for mediation by                                           [mm/dd/yyyy]

       3. Plaintiffs shall disclose experts, expert witness summaries, and
          reports as required by Fed. R. Civ. P. 26(a)(2) by                                          [mm/dd/yyyy]




 1
     In all Expedited Track cases (S.D. Fla. L.R. 16.1(a)(2)(A)) and all actions brought pursuant to the Fair Labor
     Standards Act, Title III of the Americans with Disabilities Act, the Fair Debt Collection Practices Act, or to
     recover amounts due on a defaulted student loan, the Trial shall occur within nine months of the date
     Plaintiff(s) filed the action.
     In all Standard Track cases (S.D. Fla. L.R. 16.1(a)(2)(B)), the Trial shall occur within twelve to eighteen months
     of the date Plaintiff(s) filed the action.
 2
     Tuesday before Trial date.
 3
     Additionally, in cases arising from administrative agency determinations and/or appeals thereof, the parties should
     provide a deadline for the filing of the administrative record.
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    4. Defendant(s) shall disclose experts, expert witness summaries, and
       reports as required by Fed. R. Civ. P. 26(a)(2) by                          [mm/dd/yyyy]

    5. Exchange of rebuttal expert witness summaries and reports as
       required by Fed. R. Civ. P. 26(a)(2) by                                     [mm/dd/yyyy]

    6. Written lists containing the names and addresses of all fact
       witnesses intended to be called at trial by                                 [mm/dd/yyyy]

    7. Fact discovery shall be completed by                                        [mm/dd/yyyy]

    8. Expert discovery shall be completed by                                      [mm/dd/yyyy]

    9. Mediation shall be completed by
       [no more than one month after the close of discovery]                       [mm/dd/yyyy]

    10. Dispositive motions, including summary judgment and Daubert,
        shall be filed by
        [at least four months before the date for filing the Pretrial              [mm/dd/yyyy]
        Stipulation]

    11. Deposition designations and counter designations shall be filed by         [mm/dd/yyyy]
        [at least two months before Trial date]
        The parties shall meet and confer prior to submitting the deposition
        designations and counter-designations in a good faith effort to resolve
        objections. Failure to comply with deadline and the meet and confer
        may result in objections being stricken or other appropriate sanctions.

    12. All pretrial motions and memoranda of law, including motions in
        limine, shall be filed by
        [at least one month before Trial date]                                     [mm/dd/yyyy]
        Prior to filing any motions in limine, the parties shall meet and confer
        in a good faith effort to resolve any issues. If a party has multiple
        motions in limine, they shall be filed as a single omnibus motion. All
        motions in limine and the responses shall be limited to one page per
        issue. No replies shall be permitted.
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       13. Joint pretrial stipulation, deposition designations and counter-
           designations, proposed joint jury instructions, proposed joint verdict
           form, and/or proposed findings of fact and conclusions of law shall
           be filed by
           [at least one month before Trial date]                                    [mm/dd/yyyy]
           When the parties cannot agree on specific jury instructions, the
           submitted instructions shall clearly indicate which party has
           proposed the specific instruction. The parties shall meet and confer
           prior to submitting the deposition designations and counter-
           designations in a good faith effort to resolve objections.


 By:         [Attorney(s) for Plaintiff(s)]                    [Attorney(s) for Defendant(s)]
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE No. XX-XXXXX-CIV-SMITH

 PARTY NAME(S),

                        Plaintiff(s),

                v.

 PARTY NAME(S),

 Defendant(s)
 _______________________________/

    ELECTION TO JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE
                  FOR FINAL DISPOSITION OF MOTIONS

        In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned party or parties

 to the above-captioned civil matter hereby voluntarily elect to have a United States Magistrate

 Judge decide the following motions and issue a final order or judgment with respect thereto:

        1.    Motions to Dismiss                         Yes ____          No ____

        2.    Motions for Summary Judgment               Yes ____          No ____

        3.    Motions for Attorneys’ Fees                Yes ____          No ____

        4.    Motions for Costs                          Yes ____          No ____

        5.    Motions for Sanctions                      Yes ____          No ____

        6.    All Pretrial Motions                       Yes ____          No ____

        7.    Discovery                                  Yes ____          No ____

        8.    Other (explain below)                      Yes ____          No ____

              _____________________________________________________________




 By:         [Attorney(s) for Plaintiff(s)]                 [Attorney(s) for Defendant(s)]
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                   CASE No. XX-XXXXX-CIV-SMITH

 PARTY NAME(S),

                           Plaintiff(s),

                  v.

 PARTY NAME(S),

 Defendant(s)
 _______________________________/

                             ELECTION TO JURISDICTION BY A
                       UNITED STATES MAGISTRATE JUDGE FOR TRIAL

          In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned party or parties

 to the above-captioned civil matter hereby voluntarily elect to have a United States Magistrate

 Judge conduct any and all further proceedings in this case, including TRIAL, and entry of final

 judgment with respect thereto. *



 By:          [Attorney(s) for Plaintiff(s)]                          [Attorney(s) for Defendant(s)]



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 *
     A Magistrate Judge may conduct jury trials if the underlying claims support a demand for jury. In addition, a
     Magistrate Judge can generally accommodate special settings.
